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                       UNITED STATES DISTRICT COURT
                        MIDDLE DISTRICT OF FLORIDA
                           FORT MYERS DIVISION

NORRIS WILLIAMS,

       Petitioner,

v.                                            Case Nos.: 2:22-cv-309-SPC-MRM
                                                         2:15-cr-149-SPC-MRM

UNITED STATES OF AMERICA,

       Respondent.

                                          /

                              OPINION AND ORDER1

       Before the Court is Norris Williams’ Motion Under 28 U.S.C. § 2255 to

Vacate, Set Aside, or Correct Sentence by a Person in Federal Custody (Doc.

1).2 This is Williams’ second § 2255 motion. The Court denied his first on

October 30, 2020. (Cr-Doc. 146).

       “A second or successive [§ 2255] motion must be certified as provided in

section 2244 by a panel of the appropriate court of appeals[.]” 28 U.S.C. §

2255(h).    Williams’ second motion, which is based on newly discovered

evidence, is subject to the certification requirement. But Williams has not


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hyperlinks, the Court does not endorse, recommend, approve, or guarantee any third parties
or the services or products they provide, nor does it have any agreements with them. The
Court is also not responsible for a hyperlink’s availability and functionality, and a failed
hyperlink does not affect this Order.
2 The Court cites to documents from 22-cv-309 as (Doc. __) and documents from 15-cr-149 as

(Cr-Doc. __).
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shown that the Eleventh Circuit Court of Appeals certified it. The Court will

thus deny it without prejudice. Williams may re-file the motion if certified by

the Eleventh Circuit Court of Appeals.

                   CERTIFICATE OF APPEALABILITY

      A prisoner seeking relief under § 2255 has no absolute entitlement to

appeal a district court's denial of his motion. 28 U.S.C. § 2253(c)(1). Rather, a

district court must first issue a certificate of appealability (COA). “A [COA]

may issue...only if the applicant has made a substantial showing of the denial

of a constitutional right.” 28 U.S.C. § 2253(c)(2). To make such a showing, a

petitioner must demonstrate that “reasonable jurists would find the district

court's assessment of the constitutional claims debatable or wrong,” Tennard

v. Dretke, 542 U.S. 274, 282 (2004) (quoting Slack v. McDaniel, 529 U.S. 473,

484 (2000)), or that “the issues presented were adequate to deserve

encouragement to proceed further,” Miller–El v. Cockrell, 537 U.S. 322, 335–

36 (2003) (citations omitted). Williams has not made the requisite showing

here and may not have a certificate of appealability on any ground of his

Motion.

      Accordingly, it is now

      ORDERED:

      Norris Williams’ Motion Under 28 U.S.C. § 2255 to Vacate, Set Aside, or

Correct Sentence by a Person in Federal Custody (Doc. 1) is DENIED without


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prejudice. The Clerk is DIRECTED to enter judgment against Williams and

for Respondent, terminate any pending motions and deadlines, and close this

case.

        DONE and ORDERED in Fort Myers, Florida on May 16, 2022.




SA: FTMP-1
Copies: All Parties of Record




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